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IN THE UNITED STATES DISTRICT COURT Fll,ED i"j"f _

 

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FOR THE WESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION 05 H,E. 3 | PH l2= 28

 

 

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04-20462-Ml

MARTIN RHEA

Defendant(s)

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Report Date on Friday, May 27, 2005 at 9:00
p.m. Counsel for the defendant requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for a Report
Date on Friday, July 22, 2005 at 9:00 a.m. with a trial date of Monday,
August l, 2005 at 9:30 a.m.

The period from June 17, 2005 through August 12, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B){iv} to allow defense counsel additional
time to prepare.

IT IS SO ORDERED this the §§ day of May, 2005.

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JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

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with Rule 55 and/or 32fb) FRCrP on __§F_l£_&:_° '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20462 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

